                      Case 1:21-cv-00445-CJN Document 92 Filed 12/08/21 Page 1 of 1
AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                            for the
                                                   DistrictDistrict
                                              __________    of Columbia
                                                                    of __________


                  US Dominion, Inc. et al.                     )
                             Plaintiff                         )
                                v.                             )      Case No. 1:21-cv-445
                     My Pillow, Inc. et al.                    )
                            Defendant                          )

                                               APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

         Smartmatic USA Corp., Smartmatic International Holding B.V., SGO Corporation Limited                           .


Date:          12/08/2021                                                               /s/ Martin V. Sinclair
                                                                                         Attorney’s signature


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